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 LAW OFFICE OF GREGORY JAVARDIAN, LLC                              Hearing Date: July 22, 2020, at
 BY: MARY F. KENNEDY, ESQUIRE                                      11:00 am in Courtroom 3, United
 ID# 77149                                                         States Bankruptcy Court, 900
 1310 Industrial Blvd.                                             Market Street, Philadelphia, PA
 1st Floor, Suite 101                                              19107
 Southampton, PA 18966
 (215) 942-9690
 Attorney for Citizens Bank, N.A. s/b/m to Citizens Bank of
 Pennsylvania

                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE:                                          Chapter 13 Proceeding
          Natacha Rios
                                                 19-14180 JKF
                 Debtor(s)

           MOTION OF CITIZENS BANK, N.A. S/B/M TO CITIZENS BANK OF
           PENNSYLVANIA FOR RELIEF OF FROM THE AUTOMATIC STAY

       AND NOW, comes secured Creditor, Citizens Bank, N.A. s/b/m to Citizens Bank of
Pennsylvania (Movant) by and through its counsel, Mary F. Kennedy, and files this Motion to
obtain an order for Relief from the Automatic Stay due to lack of equity in debtor(s) property
and debtor(s) failure to provide Movant with adequate protection of its interest in the property
which is the basis of the creditor’s security.


       1. On or about July 1, 2019, Debtor(s) filed a Chapter 13 Bankruptcy Petition.
       2. On August 17, 2009, the debtor executed a Mortgage and Note to Movant a in the
            amount of $84,000.00 and secured by the property located at 583 Alcott Street,
            Philadelphia, PA 19120, referred to as the “property.” Said Mortgage was recorded
            on September 1, 2009 in the Philadelphia County Recorder of Deeds Office at
            instrument no. 52113002 (See Exhibit “A” attached).
       3. The debtor is presently in arrears post-petition for five (5) months, February 21, 2020
            to June 21, 2020. The total arrears including $1,231.00 for attorney fees and costs is
            $4,582.80.
       4. Movant wishes to have the automatic stay terminated to permit Movant to complete
            foreclosure on its mortgage.
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       5. Pursuant to 11 U.S.C.A. section 362 (d) (1), cause exists to granted Movant relief
           from the stay.


       WHEREFORE, Movant respectfully requests this Honorable Court ORDER:
       That Relief from the Automatic Stay be granted to Citizens Bank, N.A. s/b/m to Citizens
Bank of Pennsylvania to proceed with foreclosure action to obtain all other Relief available
under Non-Bankruptcy Law. That the relief granted by the Court will survive the conversion of
this bankruptcy case to a case under any other Chapter of the Bankruptcy Code. And that
bankruptcy Rule 4001(a)(3) is not applicable and Movant is allowed to immediately proceed
with foreclosure and all other relief available under the Non-Bankruptcy law. Furthermore,
Movant respectfully requests that reasonable attorney fees and costs associated with this Motion
be awarded to Movant

                                             RESPECTFULLY SUBMITTED,



                                             /s/ MARY F. KENNEDY, ESQ.
       Dated: June 25, 2020
